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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
                                          )
NORBERT BASENGEZI KATINTIMA               )
       15 Joli Parc                       )
       Ngaliema, Kinshasa                 )
       Democratic Republic of the Congo   )
                                          )
                            Plaintiff,    )
                                          )
                            v.            )                      COMPLAINT FOR
                                          )                      DECLARATORY AND
ANDREA M. GACKI                           )                      INJUNCTIVE RELIEF
in her official capacity as               )
       Director of the United States      )                      CIV. NO. _____________
       Department of the Treasury         )
       Office of Foreign Assets Control   )                      ECF
       1500 Pennsylvania Avenue, NW       )
       Freedman’s Bank Building           )
       Washington, D.C. 20220             )
                                          )
                            Defendant,    )
                                          )
       and                                )
                                          )
THE UNITED STATES DEPARTMENT              )
OF THE TREASURY, OFFICE OF FOREIGN )
ASSETS CONTROL                            )
       1500 Pennsylvania Avenue, NW       )
       Freedman’s Bank Building           )
       Washington, D.C. 20220             )
                                          )
                            Defendant.    )
__________________________________________)


       Plaintiff, Norbert Basengezi Katintima (“Katintima”), brings this Complaint for

Declaratory and Injunctive Relief against Defendants the United States Department of the

Treasury’s Office of Foreign Assets Control (“OFAC”) and its Director, Andrea M. Gacki, and in

support of this Complaint alleges the following:
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                                      INTRODUCTION

       1.      On January 10, 2019, the preliminary results of the 2018 Democratic Republic of

the Congo (“DRC”) general elections were announced. Those elections heralded the first peaceful,

democratic transition of power in that country in decades, with President Felix Tshishikedi—an

opposition candidate—ascending to the DRC Presidency.

       2.      The United States Department of State has since referred to the DRC’s election

results as historic and highlighted the importance of former President Joseph Kabila’s decision to

abide by his constitutionally mandated term limits and to transfer power to a successor. The

Department of State further “welcomed” President Tshishikedi’s certification as the new DRC

President and expressed its commitment to work with the new DRC Government.

       3.      The Defendants, on the other hand, greeted this historic and democratic transfer of

power by sanctioning three officials of the National Independent Electoral Commission

(“CENI”)—the body responsible for organizing and administering the DRC elections. Those

officials were sanctioned for allegedly engaging in actions or policies that undermine democratic

processes or institutions in the DRC. Press Release, U.S. Dep’t of Treasury, Office of Foreign

Assets Control, Treasury Sanctions Congolese Officials Responsible for Undermining DRC

Elections (March 21, 2019).

       4.      Defendants’ actions were not only confusing from a foreign policy perspective,

they were completely arbitrary and non-sensical and left DRC experts baffled. For example, Jason

Stearns of the Congo Research Group—one the foremost experts on the DRC—called the

sanctioning of Katintima and his colleagues “…completely incoherent in terms of just logic.”

Chidinma Irene Nwoye, U.S. Warmly Welcomed Congo’s Disputed Election Results—But Has

Been Sanctioning Its Election Officials Ever Since, THE INTERCEPT (April 3, 2019), available at




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https://theintercept.com/2019/04/03/congo-elections-us-sanctions/ (last accessed November 4,

2019).

         5.    It is this dissonance—i.e., how the heads of an election commission which oversaw

a welcomed and historic result in the 2018 DRC elections could also be deemed by the Defendants

as having undermined democratic processes in that country—which lies at the heart of this lawsuit.

         6.    Katintima—one of the officials sanctioned by Defendants—was formerly CENI’s

Vice-President. In that position, he was responsible for managing relations between CENI and the

DRC’s political parties, as well as conducting civic education and supervising election-related

trainings. It was also through his efforts that the DRC’s 2018 election led to the first peaceful,

democratic transition of power in decades and that the U.S. Government had the opportunity to

“welcome” a new President.

         7.    As a result of Defendants’ action, all of Katintima’s property and interests in

property within U.S. jurisdiction are blocked, and U.S. persons are generally prohibited from

engaging in transactions with him. Id. Furthermore, foreign persons that materially assist,

including by providing financial support or goods or services to Katintima are subject to

designation under E.O. 13413, as amended. Defendants have effectively imposed a unilateral

international boycott against Katintima—the effects of which have been to devastate Katintima

personally, professionally, and financially.

         8.    Compounding these harms, Defendants have continued to withhold the

administrative record underlying his designation, despite his express requests for that record,

leaving Katintima with only OFAC’s press release to rely on to understand the basis of his

designation. The OFAC press release, however, only contains allegations which are of dubious

relevance to the legal criteria for designation under E.O. 13413.




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       9.      The sum of Defendants’ actions has therefore disabled Katintima’s ability to pursue

the procedures available to him under the Administrative Procedure Act and OFAC’s own delisting

procedures, as the lack of notice of the reasons for his designation prevents him from having a

meaningful opportunity to challenge it.

       10.     Katintima now turns to this Court to grant him reprieve from this Kafkaesque

nightmare; one in which he—as a custodian of a historically democratic election accepted by the

U.S.—is being punished for undermining democracy. This nightmare arises from Defendants’

failure to abide by basic rules of constitutional and administrative law. Accordingly, this Court is

respectfully requested to rein in Defendants’ lawless approach to the administration of U.S.

economic sanctions and to grant the relief requested below.

                                JURISDICTION AND VENUE

       11.     This action arises under the United States Constitution, the International

Emergency Economic Powers Act, 50 U.S.C. § 1701 et seq., and the Administrative Procedure

Act, 5 U.S.C. § 701 et seq. This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because this action arises under the laws of the United States.

       12.     This Court may grant declaratory relief pursuant to the Declaratory Judgment Act,

28 U.S.C. § 2201 et seq., and Fed. R. Civ. P. 57. This Court may grant injunctive relief pursuant

to Fed. R. Civ. P. 65.

       13.     Venue is proper in the District of Columbia as this is the district in which the events

giving rise to the complaint occurred and in which Defendants reside. See 28 U.S.C. §§ 1391(b)

and (e).




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                                        THE PARTIES

       14.     Norbert Basengezi Katintima is and was at all times relevant to this complaint a

citizen of the Democratic Republic of the Congo. Katintima currently resides at 15 Joli Parc,

Ngaliema, Kinshasa, DRC.

       15.     Katintima was formerly the Vice President of the CENI— the DRC’s independent

electoral commission charged with ensuring free and fair elections—a position that he held from

November 2015 until June 2019. Prior to this role, Katintima was an elected member of the DRC

Parliament and was the Second Vice President of the Independent Electoral Commission—the

predecessor to CENI—where he helped register more than 25 million voters to take part in the

first-ever democratic elections in the DRC. Katintima has spent much of his life focused on

ensuring free and fair democratic elections in the DRC.

       16.     Katintima is designated under E.O. 13413, as amended, and his name is included

on OFAC’s List of Specially Designated Nationals and Blocked Persons (“SDN List”).

       17.     OFAC is a federal administrative agency of the U.S. Department of the Treasury

and is located at 1500 Pennsylvania Ave., NW, Freedman’s Bank Building, Washington, D.C.

20220. OFAC is responsible for administering U.S. economic sanctions programs, including by

designating persons pursuant to authorities contained in E.O. 13413, as amended, and regulating

dealings with them under those authorities via 31 C.F.R. Parts 501 and 547, the “Reporting,

Procedures, and Penalties Regulations,” and the “Democratic Republic of the Congo Sanctions

Regulations,” respectively. OFAC was responsible for designating Katintima under E.O. 13413,

as amended.




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       18.     Defendant Andrea M. Gacki is the Director of OFAC. The Director of OFAC is

delegated all authorities provided to the Secretary of the Treasury under E.O. 13413, as amended.

31 C.F.R. § 547.802. Ms. Gacki is sued in her official capacity.

                                  FACTUAL ALLEGATIONS

       A.      OFAC’s March 21, 2019 Designation of Katintima

       19.     On March 21, 2019, OFAC designated Katintima under E.O. 13413, as amended,

for allegedly engaging in actions or policies that undermine democratic processes or institutions

in the DRC. Press Release, U.S. Dep’t of Treasury, Office of Foreign Assets Control, Treasury

Sanctions Congolese Officials Responsible for Undermining DRC Elections (March 21, 2019).

As a result of this designation, Katintima’s name was added to OFAC’s SDN List.

       20.     Simultaneous with its designation, OFAC issued a press release announcing the

designation. This press release alleged that Katintima “embezzled and misappropriated CENI

operational funds, facilitating election delays,” including through CENI officials operating at his

direction. Id. Katintima contests these allegations.

       21.     The legal consequence of Katintima’s designation is that all of his property and

interests in property within U.S. jurisdiction are blocked, and U.S. persons are prohibited from

engaging in transactions or dealings with him. Moreover, U.S. or foreign persons that provide

material assistance to Katintima—including through provision of financial services or any other

goods or services—are subject to designation under E.O. 13413, as amended, and could thus

themselves be subject to blocking sanctions. See E.O. 13413, § 1(a)(ii)(F) (Oct. 27, 2006).

       B.      Katintima’s Request for the Administrative Record

       22.     Because he lacked an understanding of the reasons for his designation, Katintima

requested the administrative record underlying his designation or any unclassified portions of that




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record, as well as an unclassified summary of any classified or otherwise privileged information

contained in it. Katintima also requested any alternative mechanisms available by which OFAC

could apprise him of, or from which Katintima could otherwise understand, the reasons for his

designation. OFAC acknowledged receipt of this request on April 19, 2019 and assigned the

request a Case ID DRC-15945.

       23.     Although more than six months have passed since Katintima made this request,

OFAC has failed to provide any of the information requested.

       24.     Without the administrative record or any other form of notice, Katintima is unable

to meaningfully challenge his designation, as he is unaware as to the reasons for OFAC’s action

or how the information in the press release may or may not be relevant to the reasons for his

designation. For this reason, Katintima has not filed a delisting petition before OFAC, absent an

understanding as to the full reasons for his designation.

       C.      Harm Done to Katintima

       25.     Defendants’ unlawful action has been personally, professionally, and financially

devastating for Katintima, as he has been made the subject of an international boycott whereby

persons all over the world—including in his home country—are subject to potential designation

by Defendants for engaging in any transactions or dealings with him.

       26.     The immediate effect of Defendants’ designation action was to cause Sofibanque

and Equity Bank Congo—both in Katintima’s home country of the DRC—to block Katintima’s

accounts, freezing $26,000 USD of his money in the process. Further, the designation action has

denied Katintima the ability to have banking facilities available for receipt of funds or transferring

money, even in his own country.




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       27.     In addition, Katintima’s grandchildren are U.S. citizens. Now, as a result of his

designation by OFAC, Katintima is prohibited from engaging in any transactions with them,

including, for instance, by doing something as innocuous as providing them with gifts for their

birthdays or other holidays.

       28.     Defendants fully acknowledge the ruinous costs imposed on designated persons,

such as Katintima. Defendants have openly lauded the fact that sanctions impose “professional,

personal, and financial isolation” on designated persons. Press Release, U.S. Dep’t of Treasury,

Office of Foreign Assets Control, U.S. Government Sanctions Organizations and Individuals in

Connection with an Iranian Defense Entity Linked to Iran’s Previous Nuclear Weapons Effort

(March 22, 2019). Indeed, Defendants regard their sanctions as “force multipliers,” so that, for

instance, “international financial institutions frequently implement [U.S.] sanctions voluntarily,

even when they are under no legal obligation to do so,” by blacklisting designated persons from

accessing their services. Examining Treasury’s Role in Combating Terrorist Financing Five Years

After 9/11, Hearing Before the Comm. on Banking, Housing and Urban Affairs, 109th Cong., S.

Hrg. 109-1073 (statement of Adam J. Szubin).

                                       LEGAL CLAIMS

                                            COUNT I

    DEFENDANTS’ FAILURE TO PROVIDE NOTICE AS TO THE REASONS FOR
KATINTIMA’S DESIGNATION UNDER E.O. 13413 VIOLATES HIS FIFTH AMENDMENT
                       RIGHT TO DUE PROCESS

       29.     Katintima re-alleges and incorporates by reference as it fully set forth herein the

allegations in all preceding paragraphs.




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       30.     Under the Fifth Amendment to the U.S. Constitution, Katintima has a right to

adequate post-deprivation notice. Sufficient notice requires Defendants to provide Katintima with

the reasons for his designation so as to permit him a meaningful opportunity to respond.

       31.     Under the Fifth Amendment to the U.S. Constitution, Katintima has a right to a

hearing. Any constitutionally adequate hearing must provide Katintima with the opportunity to be

heard in a meaningful manner.

       32.     By failing to release the administrative record, any portions thereof, or any other

form of notice designed to apprise Katintima as to the reasons for his designation, Defendants have

denied him a meaningful opportunity to challenge his designation. These actions have prevented

Katintima from making effective use of OFAC’s administrative reconsideration procedures.

Therefore, Defendants have acted in violation of Katintima’s due process rights under the Fifth

Amendment to the U.S. Constitution.

                                           COUNT II

    DEFENDANTS’ FAILURE TO PROVIDE NOTICE AS TO THE REASONS FOR
KATINTIMA’S DESIGNATION UNDER E.O. 13413 VIOLATES THE ADMINISTRATIVE
                          PROCEDURE ACT

       33.     Katintima re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.

       34.     Agency action, findings, and conclusions found to be arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law or without observance of procedure required

by law shall be held unlawful by a reviewing court and set aside. 5 U.S.C. § 706(2)(A) and (D).

       35.     The APA entitles interested parties to appear before an agency with respect to any

“issue, request, or controversy in a proceeding . . . or in connection with an agency function.” 5




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U.S.C. § 555(b). Agencies are required to issue a decision with respect to these requests within a

reasonable time. Id.

       36.     OFAC promulgates procedures by which parties subject to its sanctions can petition

for reconsideration of their designation and delisting from the SDN List. 31 C.F.R. § 501.807.

Pursuant to OFAC’s delisting procedures, a designated person “may submit arguments or evidence

that the person believes establishes that insufficient basis exists for the designation” or “propose

remedial steps on the person’s part . . . which the person believes would negate the basis for

designation.” 31 C.F.R. § 501.807(a). Designated persons may also argue that there has been a

change in circumstances rendering inapplicable the reasons for the original designation. 31 C.F.R.

§ 501.807.

       37.     By failing to release the administrative record, any portions thereof, or any other

form of notice reasonably designed to apprise Katintima as to the basis for his designation,

Defendants have denied Katintima a meaningful opportunity to challenge his designation. In sum,

Defendants have failed to provide Katintima with sufficient notice as to the basis for his

designation and have thus prevented Katintima from making effective use the APA’s and OFAC’s

administrative reconsideration procedures. Defendants have therefore acted in violation of the

APA by engaging in agency action that is arbitrary, capricious, an abuse of discretion, or that is

not in accordance with law or in observance of procedure required by law.

                                           COUNT III

   DEFENDANTS’ FAILURE TO PROVIDE THE UNCLASSIFIED PORTIONS OF THE
       ADMINISTRATIVE RECORD OR ANY OTHER NOTICE CONSTITUTES
            UNREASONABLE DELAY IN VIOLATION OF THE APA

       38.     Katintima re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.



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       39.     The APA empowers courts to compel agency action unlawfully withheld or

unreasonably delayed. 5 U.S.C. § 706(1).

       40.     Defendants have failed to provide Katintima with the unclassified portions of the

administrative record or any other notice reasonably designed to apprise him of the reasons for his

designation under E.O. 13413, as amended.

       41.     Defendants are required under the APA and the Fifth Amendment to the U.S.

Constitution to provide sufficient notice to a designee as to the reasons for their designation,

including, the unclassified portions of the administrative record.

       42.     Defendants’ failure to act on Katintima’s request and provide the record or any

other notice constitutes unreasonable delay in violation of the APA.

                                           COUNT IV

 DEFENDANTS’ DESIGNATION OF KATINTIMA UNDER E.O. 13413 CONSTITUTES
 ARBITRARY AND CAPRICIOUS AGENCY ACTION UNDER THE ADMINISTRATIVE
                          PROCEDURE ACT

       43.     Katintima re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.

       44.     Agency action, findings, and conclusions found to be arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law shall be held unlawful by a reviewing court

and set aside. 5 U.S.C. § 706(2)(A).

       45.     Defendants’ designation of Katintima under E.O. 13413 is arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law in violation of the APA, as Katintima

does not meet the criteria for designation under E.O. 13413 and OFAC has made no findings or

conclusions to support its decision.




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                                    RELIEF REQUESTED

Wherefore, Katintima respectfully requests that this Court:

       A.      Issue an order vacating Katintima’s designation under E.O. 13413;

       B.      Order Defendants to rescind Katintima’s designation under E.O. 13413;

       C.      Order Defendants to disclose the administrative record or any unclassified portions

               of such record so as to apprise Katintima as to the reasons for his designation under

               E.O. 13413;

       D.      Order Defendants to produce an unclassified summary of classified or otherwise

               privileged information contained in the administrative record, which—together

               with the unclassified version of the administrative record—fully apprises Katintima

               as to all of the reasons for his designation under E.O. 13413;

       E.      Order Defendants to provide alternative means by which Katintima can be given

               sufficient notice as to the reasons for his designation under E.O. 13413 in the event

               that OFAC is unable to disclose all of the reasons for the designation through the

               redacted version of the administrative record and an unclassified summary;

       F.      Grant an award to Katintima of his costs and attorneys’ fees under the Equal Access

               to Justice Act, 28 U.S.C. § 2412 et seq., and any other applicable provision of law;

               and

       G.      Any other and further relief as the Court may deem proper.



Dated: November 12, 2019

                                                              Respectfully submitted,

                                                              /s/ Erich C. Ferrari
                                                              Erich C. Ferrari, Esq.



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